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Energy intelligence Grcup, lnc, et a|. vs. BlVlO Harris Banl< et ai. 18 CV 06721
Plaintiff/Petitioner Defendant/Respondent Case#

Being duly swcm, on my oath, l Al'ldrew Raphaei
dec§are that l am a citizen of the United States, over the age of eighteen and ncta party to this action
Service: | served BlV!O Hafi’lS Bal'i|<, N. A.

NAN!E OF PERSON/ENTITY BE[NG SERVED
with the (docLzments) i:i Subpoena with $ witness fee and mileage

/o/Summons, Cornplaint, Exl'iibitA, Civil Cover Sheet, Case lvlanagement Package
And Orcler

 

 

 

by serving (NAME) Yaryce£is RodriguezNieves, Teller authorized to accept

 

 

 

ati:: Home
,o/Business 111 W. Monroe Street Chicago, |L.
}/on roATE) October19,2018 arrT:i\/ie) 3:15 p.m.

Thereafter copies of the documents weze mailed by prepaid, first class mail on (DATE)

From (CITY) (STATE}
Manner of Service:
o By Personal Servioe
By delivering, during office hours, copies at the office of the person/entity being served, leaving same with the person
apparently in charge thereofl namely,
Yarycelis RodriguezNieves, Teller authorized to accept
i:i By leaving a copy at the defendants usual place of abode, With some petson of the family or a person
residing there, of the age of 13 years or upwards, and informing that person of the general nature of the papers

 

o By posting copies in a conspicuous manner to the address of the person/entity being served

 

 

 

 

Non$ervice: After due searoh, careful inquiry and diligent attempts at the address(es} listed above, l have been
unable to effect process upon the person/entity being served because of the foilowing reason(s):
Unl<nown at Address o Evading i:i Other:
Address does not exist o Service cancelled by iitigant
l\/Eoved, i.eft no forwarding o Unab|e to serve in a timely fashion
Service Attempts: Service was attempted on: ( } ,( ) ,( }
DATE TElVlE DATE TlNlE DATE `l'llv‘lE
{ ) ,( ) ,( ) - .( )
DATE TiNlE DATE 'l`llle DATE TliVlE DATE TllVlE
Description: o Male o White ,a'@ck Hair z:i White Hair o 14-20 Yrs. o Under 5' o Un r 100 Lbs.
/o»Female o Bl k o Brown Hair o Balding ,3/2135 Yrs. o 5'-5’3" 00-130 Lbs.
ispanic o Blond Hair o 36-50 Yrs. /o@"-S'"B o 131-t 60 Lbs.
o Glasses z:i Asian c Gray Hair i:i Nlustache c 51-65 Yrs. o 5‘9"-»6' o 161-200 Lbs.
i:i indian i:i Recl Hair o Beard i:i Over 65 Yrs. i:i Over S' o Over 200 Lbs.
owes ioi.=.N'nFYiNs FEATURES: /~, /

 

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State of Illincis County of Cook
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CHARTER MEMBER N TlONA`¢Q

   

 
 
    

    

 

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Notary Pubho

  
 
 

FESS|ONAL PROCESS SERVERS

